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           EXHIBIT A
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PX0083   MSFT HSR Item 3(b)   MSFT HSR Item 3(b)   1/18/2022    Agreement and Plan of Merger




                                                                Email from Jerret West to Cristina Telleria, Taylor Smith, Aaron Greenberg et al.
PX1098   MSFT‐2R‐00526325     MSFT‐2R‐00526327     12/8/2020
                                                                re: For feedback‐ FY22 plans



                                                                                                                                                                                 Exhibit subject to
PX1102   MSFT‐2R‐05893568     MSFT‐2R‐05893572     5/24/2021    Email from A. Hood to J. West, P. Spencer, T. Stuart et al. re: Approval: WB Game Pass Content              forthcoming 79-5(c) motion
                                                                                                                                                                                  from Microsoft.



                                                                Email from Jamie Lawver to Tim Stuart, Jordan Chester re: Activision deal
PX1217   MSFT‐2R‐08912232     MSFT‐2R‐08912251     1/20/2022
                                                                model w/Attach: Denali model‐ Jan 16 Board FGNG.xlsx



                                                                                                                                                                                 Exhibit subject to
                                                                Email from Matt Booty to Noah Musler, Jamie Lawver and Mary McGuane re:
PX1442   MSFT‐2R‐00712144     MSFT‐2R‐00712144     10/15/2019                                                                                                               forthcoming 79-5(c) motion
                                                                Pre‐Read for Friday ‐ 3PP Content Investments
                                                                                                                                                                                  from Microsoft.


                                                                Email from Catherine Gluckstein to Player Experiences & Platforms LT, David                                      Exhibit subject to
PX1774   MSFT‐2R‐10875621     MSFT‐2R‐10875647     11/14/2022   Hampton, Michelle Grood, et al. re: GLT Review| Xbox Everywhere Economics: PRE‐READ w/Attach: Xbox          forthcoming 79-5(c) motion
                                                                Everywhere Economics.pdf                                                                                          from Microsoft.


                                                                                                                                                                                 Exhibit subject to
                                                                Email from David Hampton to Bo Goodrich and Marielle Rodgers re:potential acquisition w/Attach: potential
PX1823   MSFT‐2R‐05752453      MSFT‐2R‐05752466    1/14/2022                                                                                                                forthcoming 79-5(c) motion
                                                                acquisition
                                                                                                                                                                                  from Microsoft.


                                                                                                                                                                                 Exhibit subject to
                                                                Email from Matt Booty to Phil Spencer, Bill Duff, Sarah Bond, et al. re: Request
PX1829   MSFT‐2R‐06101397      MSFT‐2R‐06101399     4/4/2019                                                                                                                forthcoming 79-5(c) motion
                                                                for Strategy Approval: Double Fine w/Attach: Double Fine ‐ Strategy Approval vF.pptx
                                                                                                                                                                                  from Microsoft.




                                                                                                                                                                                 Exhibit subject to
PX4028   MSFT‐2R‐10908849     MSFT‐2R‐10908850     11/10/2022   Email from A. Hood to T. Stuart and M. Ozkeskin re: Q2 Outlook                                              forthcoming 79-5(c) motion
                                                                                                                                                                                  from Microsoft.




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PX4029   MSFT‐2R‐07796718   MSFT‐2R‐07796719   11/17/2020   Email from J. West to A. Greenberg re: Studios/First party review



                                                                                                                                                                                    Exhibit subject to
PX4033   MSFT‐2R‐10907042   MSFT‐2R‐10907042   5/27/2022    Email from A. Hood to J. Binz and M.Ozkeskin re: Update on Q4 opex outlook and legal costs related to Activision   forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
PX4044   MSFT‐2R‐03620287   MSFT‐2R‐03620288   3/17/2020    Email from T. Stuart to A. Hood and P. Spencer re: Gaming in FY21                                                  forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
                                                            Email from Sarah Bond to Kari Perez and Phil Spencer re: Our call tomorrow ‐
PX4215   MSFT‐2R‐04727631   MSFT‐2R‐04727632    1/4/2022                                                                                                                       forthcoming 79-5(c) motion
                                                            Project Denali
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
PX4238   MSFT‐2R‐13372500   MSFT‐2R‐13372501   00/00/0000   Document: Ecosystem Communications                                                                                 forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
PX4352   MSFT‐2R‐06975651   MSFT‐2R‐06975653   12/17/2019   Email from Matt Booty to Tim Stuart re: GP ARPU                                                                    forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.



PX5000      PX5000‐001         PX5000‐360       5/5/2023    Expert Report of Robin S. Lee, PhD




PX8001      PX8001‐001         PX8001‐018      12/5/2022    Declaration: Jim Ryan (Sony)




                                                            Webpage: Blog post by Phil Spencer: Gaming for everyone, everywhere: our
PX9000      PX9000‐001         PX9000‐004       9/1/2022
                                                            view on the Activision Blizzard acquisition




PX9005      PX9005‐001         PX9005‐144      00/00/2021   Document: Activision Blizzard 2021 Annual Report




PX9009      PX9009‐001         PX9009‐020      10/27/2020   Transcript: Q1 2021 Microsoft Corp Earnings Call ‐ Final




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                                                 Article: Microsoft to Acquire Activision Blizzard to bring the joy and community
PX9076   PX9076‐001     PX9076‐010   1/18/2022
                                                 of gaming to everyone, across every device



                                                 Press Release: Activision Blizzard Completed King Acquisition Becomes the
PX9234   PX9234‐001     PX9234‐009   2/23/2016
                                                 Largest Game Network in the World With Over 500 Million Users




RX0045      N/A            N/A       5/26/2022   Sony Investor Presentations Agenda (Website)




RX0046      N/A            N/A       5/26/2022   Game & Network Services Segment Investor Presentation




RX0088      N/A            N/A       3/9/2021    Xbox Blog Post: Announcement of Agreement to Acquire ZeniMax




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RX0102        N/A                N/A          1/7/2014    PlayStation Now Streaming Game Service Coming this summer: PlayStation Blog




RX0176        N/A                N/A          4/12/2023   Demonstrative: “PlayStation Buy-to-Play Titles by Revenue” Table



                                                                                                                                                                          Exhibit subject to
RX1001   ABK-2R-00518916    ABK-2R-00518917   8/27/2021   Emails between J. Taub, M. Vance and R.Kostich Re: Cloud                                                   forthcoming 79-5(c) motion
                                                                                                                                                                           from Activision.


                                                                                                                                                                          Exhibit subject to
                                                          Email Thread re: COD LRP // Email Attachment re: COD Franchise Planning: Growth Slate Overview Jan. 2022
RX1002   ABK-2R-00797709    ABK-2R-00797718   1/25/2022                                                                                                              forthcoming 79-5(c) motion
                                                          Presentation Deck
                                                                                                                                                                           from Activision.




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                                                                                                                                                                            Exhibit subject to
RX1006   ABK-2R-00932421    ABK-2R-00932422   5/19/2021    Email between E. Wingrem to R. Schonfeld re: Steam // Email Attachment re: Steam Presentation Deck          forthcoming 79-5(c) motion
                                                                                                                                                                             from Activision.


                                                                                                                                                                            Exhibit subject to
                                                           Emails between E. Cheng and K. Wee re: AP <> Corp Strat: LRP Trends Catch-Up // Email Attachment re: S&BI
RX1008   ABK-2R-00946480    ABK-2R-00946502    5/5/2020                                                                                                                forthcoming 79-5(c) motion
                                                           Market Overview Presentation Deck
                                                                                                                                                                             from Activision.


                                                                                                                                                                            Exhibit subject to
                                                           Email between A. Abdullahi and MICI re: Gaming Industry Headlines- Mar 19-Mar 25 // Email Attachment re:
RX1009   ABK-2R-01077932    ABK-2R-01077933   3/28/2022                                                                                                                forthcoming 79-5(c) motion
                                                           Weekly Headlines & Competitive Update Presenation Deck
                                                                                                                                                                             from Activision.


                                                                                                                                                                            Exhibit subject to
RX1011   ABK-2R-01198598    ABK-2R-01198601   1/10/2019    Email from P. Royea to self re: DD update                                                                   forthcoming 79-5(c) motion
                                                                                                                                                                             from Activision.


                                                                                                                                                                            Exhibit subject to
RX1012   ABK-2R-01201837    ABK-2R-01201838    6/1/2020    Email from P. Royea to A. Zerza re: SIE update                                                              forthcoming 79-5(c) motion
                                                                                                                                                                             from Activision.


                                                                                                                                                                            Exhibit subject to
RX1013   ABK-2R-01205015    ABK-2R-01205025   1/31/2020    Presentation re: MSFT Scarlett Outlook: Platform Strategy and Partner Relations                             forthcoming 79-5(c) motion
                                                                                                                                                                             from Activision.


                                                                                                                                                                            Exhibit subject to
RX1015   ABK-2R-01213511    ABK-2R-01213513   2/28/2019    Emails between B. Beede and P. Royea, D. Stohl, and R. Kostich Re: Cross Play                               forthcoming 79-5(c) motion
                                                                                                                                                                             from Activision.


                                                                                                                                                                            Exhibit subject to
RX1016   ABK-2R-01217484    ABK-2R-01217485   8/12/2020    Emails between B. Byron and P. Royea re: xCloud                                                             forthcoming 79-5(c) motion
                                                                                                                                                                             from Activision.


                                                                                                                                                                            Exhibit subject to
                                                           Emails between S. Kim and P. Royea re: Game Pass Cannibalization // Email Attachment re: Game Pass
RX1017   ABK-2R-01221638    ABK-2R-01221639    1/9/2020                                                                                                                forthcoming 79-5(c) motion
                                                           Cannibalization Presentation Deck
                                                                                                                                                                             from Activision.


                                                                                                                                                                            Exhibit subject to
RX1018   ABK-2R-01223110    ABK-2R-01223111   11/22/2019   Emails between P. Royea and C. Schnakenberg re: <DRAFT> Google Stadia Recap / Platforms Perspective         forthcoming 79-5(c) motion
                                                                                                                                                                             from Activision.


                                                                                                                                                                            Exhibit subject to
RX1019   ABK-2R-01227056    ABK-2R-01227061    9/7/2021    Emails between P. Royea and C. Schnakenberg. K. San, and P. McNair re: NOA Discussion                       forthcoming 79-5(c) motion
                                                                                                                                                                             from Activision.




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                                                                                                                                                                                   Exhibit subject to
RX1020   ABK-2R-01232065    ABK-2R-01232066   5/24/2021    Emails between C. Schnackenberg and A. Zerza, P. Royea, and R. Kostich RE: FYI                                     forthcoming 79-5(c) motion
                                                                                                                                                                                    from Activision.


                                                                                                                                                                                   Exhibit subject to
RX1021   ABK-2R-01233521    ABK-2R-01233521    6/9/2020    Email from unknown author re: Strawman - Rosenberg                                                                 forthcoming 79-5(c) motion
                                                                                                                                                                                    from Activision.


                                                                                                                                                                                   Exhibit subject to
                                                           Email between A. Zerza and J. Taub, A. Brown, and C. Schnakenberg re: Steam // Email Attachment re: Steam
RX1022   ABK-2R-01300762    ABK-2R-01300771    2/9/2022                                                                                                                       forthcoming 79-5(c) motion
                                                           Presentation Deck
                                                                                                                                                                                    from Activision.


                                                                                                                                                                                   Exhibit subject to
                                                           Email between S. Kim and P. Royea re: Sony deck update an template? // Email Attachment re: Call of Duty: Cross-
RX1024   ABK-2R-01410015    ABK-2R-01410016   4/11/2019                                                                                                                       forthcoming 79-5(c) motion
                                                           Play and Sony Advantage Presentation Deck
                                                                                                                                                                                    from Activision.


                                                                                                                                                                                   Exhibit subject to
RX1026   ABK-2R-01449965    ABK-2R-01449965   3/16/2020    Email between A. Zerza and P. Royea re: Phil Spencer Talk Sheet                                                    forthcoming 79-5(c) motion
                                                                                                                                                                                    from Activision.


                                                                                                                                                                                   Exhibit subject to
RX1027   ABK-2R-01450039    ABK-2R-01450042   11/3/2020    Emails between A. Zerza and P. Royea re: 1P Partnerships                                                           forthcoming 79-5(c) motion
                                                                                                                                                                                    from Activision.


                                                                                                                                                                                   Exhibit subject to
RX1030   ABK-2R-01515760    ABK-2R-01515761   1/28/2020    Email Thread re: MSFT Partnership                                                                                  forthcoming 79-5(c) motion
                                                                                                                                                                                    from Activision.


                                                                                                                                                                                   Exhibit subject to
RX1031   ABK-2R-01517045    ABK-2R-01517046   9/10/2020    Email between P. Royea and A. Zerza re: SIE Discussion                                                             forthcoming 79-5(c) motion
                                                                                                                                                                                    from Activision.


                                                                                                                                                                                   Exhibit subject to
                                                           Email from M. Ybarra to A. Zerza re: CONFIRMED: ATVI- Google Stadia Executive Review // Email Attachment
RX1032   ABK-2R-01570699    ABK-2R-01570706   11/13/2019                                                                                                                      forthcoming 79-5(c) motion
                                                           re: Google Stadia: Platform Overview Executive Brief Presentation Deck
                                                                                                                                                                                    from Activision.


                                                                                                                                                                                   Exhibit subject to
                                                           Email between T. Khatri and A. Zerza and A. Liss re: Google Camp (July 2019) // Email Attachment re: Google
RX1033   ABK-2R-01570957    ABK-2R-01570977   7/22/2019                                                                                                                       forthcoming 79-5(c) motion
                                                           Camp Presentation Deck
                                                                                                                                                                                    from Activision.


                                                                                                                                                                                   Exhibit subject to
RX1036   ABK-2R-01868653    ABK-2R-01868654   9/19/2019    Email between C. Sonny and J. Chie, B. Hisey, G. Wilson, and G. Chua re: Console Subscriptions                     forthcoming 79-5(c) motion
                                                                                                                                                                                    from Activision.




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                                                                                                                                                                             Exhibit subject to
RX1038   ABK-2R-02592531     ABK-2R-02592531    2/9/2022    Email between B. Zien and J. Estanislao re: Nvidia                                                          forthcoming 79-5(c) motion
                                                                                                                                                                              from Activision.


                                                                                                                                                                             Exhibit subject to
                                                            Email thread re: XBOX PLA // Email Attachment re: Microsoft’s Publisher License Agreement (“PLA”) with
RX1041   ABK-2R-03361736     ABK-2R-03361772   8/18/2020                                                                                                                forthcoming 79-5(c) motion
                                                            Activision Document
                                                                                                                                                                              from Activision.


                                                                                                                                                                             Exhibit subject to
RX1042   ABK-2R-03424245     ABK-2R-03424260   10/11/2020   Presentation re: SIE Negotiation Final Alignment                                                            forthcoming 79-5(c) motion
                                                                                                                                                                              from Activision.


                                                                                                                                                                             Exhibit subject to
RX1044   ABK-2R-03827215     ABK-2R-03827216   11/15/2022   Document re: Xbox Game Pass                                                                                 forthcoming 79-5(c) motion
                                                                                                                                                                              from Activision.


                                                                                                                                                                             Exhibit subject to
RX1047   ABK-2R-03924639     ABK-2R-03924640   7/18/2022    Email Thread re: Gaming Industry Headlines // Email Attachment re: ABK Competitor Slate Presentation Deck   forthcoming 79-5(c) motion
                                                                                                                                                                              from Activision.


                                                                                                                                                                             Exhibit subject to
RX1048   ABK-2R-03960412     ABK-2R-03960414    4/2/2021    Email between A. Zerza and P. Royea RE: Sony Feature Needs & Strategy                                       forthcoming 79-5(c) motion
                                                                                                                                                                              from Activision.



RX1053   MSFT-2R-00695940   MSFT-2R-00695943   7/19/2021    Emails between J. Braff and M. Booty re: Ubu Discussion and Feedback




RX1054   MSFT-2R-00742141   MSFT-2R-00742145    8/6/2020    Emails between T. Stuart and M. Booty re: ATVI FY20 Q2 Earnings Summary




RX1055   MSFT-2R-00744353   MSFT-2R-00744355   4/21/2021    Email Thread re: potential acquisition




RX1056   MSFT-2R-00757128   MSFT-2R-00757128   11/9/2020    Email between M. Booty andJ. Braff, A. Greenberg, J. Lawver, and A. Hartman re: ZeniMax/Bethesda



                                                                                                                                                                             Exhibit subject to
RX1058   MSFT-2R-00803136   MSFT-2R-00803139   7/20/2021    Email Thread re: For Input: Media Inquiries on Game Pass Monetization & Payments                            forthcoming 79-5(c) motion
                                                                                                                                                                              from Microsoft.




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                                                                                                                                                                                       Exhibit subject to
                                                            Email Thread re: Deck/Follow-ups:Xbox FY21 Budget Review-NA // Email Attachment re: Xbox FY21 Budget
RX1060   MSFT-2R-01410821   MSFT-2R-01410823   3/27/2020                                                                                                                          forthcoming 79-5(c) motion
                                                            Review Presentation Deck
                                                                                                                                                                                        from Microsoft.


                                                                                                                                                                                       Exhibit subject to
                                                            Emails between S. Dell'Osso and Minecraft Franchise Performance re: Minecraft H1 Performance Update | December
RX1061   MSFT-2R-01432666   MSFT-2R-01432672   1/20/2021                                                                                                                          forthcoming 79-5(c) motion
                                                            2020 // Email Attachment re: Full Financial Results Spreadsheet
                                                                                                                                                                                        from Microsoft.


                                                                                                                                                                               Exhibit subject to
                                                            Emails between T. Stuart and P. Spencer, C. Rupp, and D. Johnson-Marletti re: Sep MTD/QTD & Guidance (Actuals
RX1062   MSFT-2R-01738674   MSFT-2R-01738680   9/25/2019                                                                                                                  forthcoming 79-5(c) motion
                                                            through 9/15)
                                                                                                                                                                                from Microsoft.



RX1063   MSFT-2R-01741407   MSFT-2R-01741411   6/29/2021    Emails between R. Jodice and P. Spencer and E. Rodriguez re: RECAP | Phil Spencer on IGN Unlocked 500



                                                                                                                                                                                       Exhibit subject to
RX1064   MSFT-2R-01750995   MSFT-2R-01750995   4/14/2020    Email between P. Spencer and Business Strategy SLT and Gaming Leadership Team re: Multiple Stores on Xbox             forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.


                                                                                                                                                                                       Exhibit subject to
RX1065   MSFT-2R-01756862   MSFT-2R-01756862    7/8/2021    Email between P. Spencer and S. Bond and M. Booty re: Re: Queen Bee                                                   forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.



RX1066   MSFT-2R-01808725   MSFT-2R-01808729    5/5/2021    Emails between T. Stuart and M. Booty re: Activision Blizzard FY21 Q1 Earnings Summary



                                                                                                                                                                                       Exhibit subject to
                                                            Email from C. Williams to J. MacLean and K. Stricker re marginal costs of streaming, marginal revue, and profit for
RX1067   MSFT-2R-01851103   MSFT-2R-01851104   9/28/2021                                                                                                                          forthcoming 79-5(c) motion
                                                            Fortnite streaming
                                                                                                                                                                                        from Microsoft.



RX1068   MSFT-2R-01859233   MSFT-2R-01859236   8/17/2020    Email Thread re: Mobile Distribution




RX1069   MSFT-2R-02010275   MSFT-2R-02010277   1/18/2022    Emails between S. Bond and GEO re: FW: Bringing the joy and community of gaming to everyone




RX1070   MSFT-2R-02049470   MSFT-2R-02049473   11/15/2021   Emails between J. Braff and M. Booty re: Re: Next Steps on Mobile




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                                                                                                                                                                              Exhibit subject to
RX1074   MSFT-2R-02090812    MSFT-2R-02090813   10/29/2021   Teams Chat Between D. Hampton and J. Braff                                                                  forthcoming 79-5(c) motion
                                                                                                                                                                               from Microsoft.



                                                             Emails between P. Spencer and Gaming Leadership Team re: FW: Pettiness from Sony and Gamespots fanboy
RX1075   MSFT-2R-02232946    MSFT-2R-02232948   9/27/2019
                                                             reviewers.



                                                                                                                                                                              Exhibit subject to
RX1077   MSFT-2R-02614858    MSFT-2R-02614859   1/22/2020    Emails between P. Spencer and A. Hood re: Aligning on Gaming in Q3                                          forthcoming 79-5(c) motion
                                                                                                                                                                               from Microsoft.


                                                                                                                                                                              Exhibit subject to
RX1078   MSFT-2R-02614988    MSFT-2R-02614991    7/4/2019    Emails between T. Stuart ang A. Hood and B. Duff re: Gaming…                                                forthcoming 79-5(c) motion
                                                                                                                                                                               from Microsoft.


                                                                                                                                                                              Exhibit subject to
RX1079   MSFT-2R-02615029    MSFT-2R-02615030    5/3/2019    Emails between T. Stuart, P. Spencer and A. Hood re: The Call                                               forthcoming 79-5(c) motion
                                                                                                                                                                               from Microsoft.


                                                                                                                                                                              Exhibit subject to
RX1080   MSFT-2R-02822522    MSFT-2R-02822524   8/19/2020    Email Thread re Take-Two Interactive acquires Playdots for $192m | GamesIndustry.biz                        forthcoming 79-5(c) motion
                                                                                                                                                                               from Microsoft.


                                                                                                                                                                              Exhibit subject to
RX1082   MSFT-2R-02998983    MSFT-2R-02998983   11/12/2021   Emails between K. Scott and P. Spencer re: potential acquisition                                            forthcoming 79-5(c) motion
                                                                                                                                                                               from Microsoft.



RX1083   MSFT-2R-03000950    MSFT-2R-03000950   1/19/2022    Emails between S. Bond, P. Spencer, S. Singer and N. Cheuk re: CONGRATS




RX1084   MSFT-2R-03012342    MSFT-2R-03012343   1/27/2022    Email between P. Spencer and F. Shuntaro re: Xbox news today



                                                                                                                                                                              Exhibit subject to
                                                             Emails between B. Peterson, J. West, P. Spencer, and L. Hamren re: Gamer personas // Email Attachment re:
RX1085   MSFT-2R-03083936    MSFT-2R-03083938   11/20/2020                                                                                                               forthcoming 79-5(c) motion
                                                             Motivational Gaming Segmentation Refresh Presentation Deck
                                                                                                                                                                               from Microsoft.


                                                                                                                                                                              Exhibit subject to
RX1086   MSFT-2R-03246864    MSFT-2R-04862466   10/29/2020   Emails between M. Booty and D. Hampton re: Social Point                                                     forthcoming 79-5(c) motion
                                                                                                                                                                               from Microsoft.




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                                                                                                                                                                                       Exhibit subject to
RX1088   MSFT-2R-03374180    MSFT-2R-03374182   11/24/2020   Email thread re: D2 in XGP                                                                                           forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.


                                                                                                                                                                                       Exhibit subject to
RX1089   MSFT-2R-03625199    MSFT-2R-03625200    4/8/2019    Email Thread re: Doom Eternal Switch - 2 Party Deal // Email Attachment re: Doom Eternal Switch Analysis             forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.


                                                                                                                                                                                       Exhibit subject to
RX1090   MSFT-2R-03676871    MSFT-2R-03676872   11/29/2021   Teams Chat between between T. Stuart and J. Lawver re: Denali Model                                                  forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.



                                                             Email between J. Leder, R. Altman, R. Seger, P. Hines, T. Howard, T. Vaughn, S. Brennan, G. Lesher, C. Tallent and
RX1092   MSFT-2R-04438185    MSFT-2R-04438185   9/21/2020
                                                             J. Altman re: Sony



                                                                                                                                                                                       Exhibit subject to
RX1093   MSFT-2R-04471483    MSFT-2R-04471488   2/21/2019    Emails between C. Gluckstein and P. Spencer re: "RE: xCloud (Strategy and GDC)                                       forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.


                                                                                                                                                                                       Exhibit subject to
RX1094   MSFT-2R-04516228    MSFT-2R-04516228   9/23/2020    Email Thread re: Sony                                                                                                forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.


                                                                                                                                                                                       Exhibit subject to
RX1095   MSFT-2R-04553326    MSFT-2R-04553328    4/7/2021    Email between P. Spencer J. Leder, M. Booty, and J. Braff re: Ghostwire and Deathloop                                forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.


                                                                                                                                                                                       Exhibit subject to
                                                             Email between D. Hampton and Gaming LT re: SLT Final Whitepaper and Presentation Materials // Email
RX1096   MSFT-2R-04727089    MSFT-2R-04727108   11/3/2021                                                                                                                         forthcoming 79-5(c) motion
                                                             Attachment re: Gaming CSA SLT Strategy Review Document
                                                                                                                                                                                        from Microsoft.


                                                                                                                                                                                       Exhibit subject to
                                                              Email from Ada Duan to S. Bond and Ada Duan about competitive pressures in the gaming and game development
RX1097   MSFT-2R-04749107    MSFT-2R-04749108   4/30/2019                                                                                                                         forthcoming 79-5(c) motion
                                                                                         market, and how that has affected Microsoft's own deals
                                                                                                                                                                                        from Microsoft.


                                                                                                                                                                                       Exhibit subject to
RX1098   MSFT-2R-04753193    MSFT-2R-04753197   5/29/2019    Email and Blog Post Attachment re: Windows Approach to PC Gaming                                                     forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.


                                                             Email thread re: TIME SENSITIVE: Ubisoft Ent. S.A.- Co-Mktg. Addendum to the Xbox Console PLA- Assasin's                  Exhibit subject to
RX1099   MSFT-2R-04765636    MSFT-2R-04765652   6/27/2020    Creed Vanhalla & Watch Dogs Legions // Email Attachment re: Co-Marketing Addendum to the Xbox Console                forthcoming 79-5(c) motion
                                                             Publisher License Agreement Document                                                                                       from Microsoft.




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                                                                                                                                                                                      Exhibit subject to
RX1100   MSFT-2R-04769839    MSFT-2R-04769840    4/1/2020    Emails between P. Spencer, M. Booty, S. Bond and H. Zhang re: Note for TimS                                         forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1102   MSFT-2R-04793454    MSFT-2R-04793456   12/9/2021    Email from B. Goodrich et al re: Next Steps on Mobile //Attachment re: Gaming M&A | XGS Presentation Deck           forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1103   MSFT-2R-04824944    MSFT-2R-04824944   2/26/2021    Email between T. Stuart, M. Booty and P. Spencer re: Bethesda forecast                                              forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1104   MSFT-2R-04861001    MSFT-2R-04861004   3/22/2021    Emails between S. Bond and M. Wetter (CORPDEV) re: potential acquisition                                            forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
                                                             Email between P. Spencer, S. Nadella and A. Hood re: potential acquisition// Attachment re: Executive Summary re:
RX1105   MSFT-2R-04862485    MSFT-2R-04862498   6/18/2021                                                                                                                        forthcoming 79-5(c) motion
                                                             potential acquisition
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1106   MSFT-2R-04864728    MSFT-2R-04864730   11/12/2021   Email between S. Yadav, P. Jensen and J. Braff re: RECAP: Product 365 | Casual Gaming                               forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
                                                             Emai from D. Hampton to C. Gluckstein et al re: SLT Follow-ups from today // Attachment re: Gaming CSA: SLT
RX1108   MSFT-2R-05616404    MSFT-2R-05616415   10/7/2020                                                                                                                        forthcoming 79-5(c) motion
                                                             Strategy Review
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
                                                             Email from D. Hampton to A. Chen, E. Kim and L. Di Mauro re: FW [EXTERNAL] Re: Connection: // Attachment
RX1111   MSFT-2R-05713317    MSFT-2R-05713339   6/25/2020                                                                                                                        forthcoming 79-5(c) motion
                                                             re: Gaming CSA: Strategy Review By the Gaming Leadership Team | April 2020
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
                                                             Email from H. Zhang to P. Spencer et al re: Prep for 2/25/ Board Presentation // Attachment re: Gaming: Board of
RX1112   MSFT-2R-05725641    MSFT-2R-05725720   2/19/2021                                                                                                                        forthcoming 79-5(c) motion
                                                             Directors Review, February 2021 Presentation Deck
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1113   MSFT-2R-05726426    MSFT-2R-05726429   12/4/2020    Email between D. Hampton and S. Bond re: RE: mobile strategy                                                        forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1116   MSFT-2R-07133628    MSFT-2R-07133629   12/3/2021    Meeting Invite from T. Stuart re: ACP RE: Project Denali // Attachment re: Activision Blizzard Presentation Deck    forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.




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                                                                                                                                                                                    Exhibit subject to
                                                             Email from T. Stuart to A. Hood re: Project Atom (ZeniMax)// Attachment re: ZeniMax Media Presentation Deck //
RX1117   MSFT-2R-05887729    MSFT-2R-05887740   7/28/2020                                                                                                                      forthcoming 79-5(c) motion
                                                             Attachment re: Gaming CSA - Strategic Framing Memo
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1119   MSFT-2R-05894491    MSFT-2R-05894492   6/17/2021    Email Thread re: RE: potential acquisition                                                                        forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.



RX1120   MSFT-2R-05896130    MSFT-2R-05896130   11/4/2021    Teams chat between P. Spencer, A. Hood, and S. Nadella



                                                                                                                                                                                    Exhibit subject to
RX1121   MSFT-2R-06074162    MSFT-2R-06074164   2/19/2021    Email between T. Stuart, L. Norman, J. Braff, B. Roszczewski, and J. Lawver re: Thank you                         forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
                                                             Email from M. Pallemaerts to A. Liao-Schofield re: COMPLETE - Nintendo PLA-CP 3596168 // Attachment re:
RX1122   MSFT-2R-06090646    MSFT-2R-06090678    8/9/2019                                                                                                                      forthcoming 79-5(c) motion
                                                             Nintendo Switch Content License and Distribution Agreement
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
                                                             Email from K. Huschka to A. Murphy, R. Schelback and J. Lawver re: Atom FGNG Deal Model spreadsheet
RX1123   MSFT-2R-06101774    MSFT-2R-06101775   9/21/2020                                                                                                                      forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                Exhibit subject to
                                                             Email from P. Spencer to SLT Modern Group re: Gaming CSA: Biannual Strategy Review Pre-Read // Attachment re:
RX1125   MSFT-2R-06221079    MSFT-2R-06221092   4/21/2020                                                                                                                  forthcoming 79-5(c) motion
                                                             Gaming CSA: Strategy Review
                                                                                                                                                                                 from Microsoft.



                                                             Email from B. Morris re: Fwd: Gaming Deal Board: Subscription Partnership with EA// Attachment: re: EA Access &
RX1126   MSFT-2R-06236415    MSFT-2R-06236416   10/17/2019
                                                             Origin Basic Deal Rationale Presentation Deck



                                                                                                                                                                                    Exhibit subject to
                                                             Emails Between A. Hood and S. Nadella re: MS Tech Weekly: Video Games secular concerns vs F2P; Semis bottom
RX1128   MSFT-2R-06338104    MSFT-2R-06338114   2/13/2019                                                                                                                      forthcoming 79-5(c) motion
                                                             to bonanza? SPOT podcast strategy | Earnings NVDA CSCO ATVI NTAP; GS Tech Conference
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1130   MSFT-2R-06593021    MSFT-2R-06593022   2/23/2022    Email Thread re: Microsoft's Commitment to Activision Games on PlayStation Post Merger                            forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
                                                             Emails Thread re: Microsoft's Commitment to Activision Games on PlayStation Post Merger // Attachment re: Sony
RX1131   MSFT-2R-06593056    MSFT-2R-06593060    2/1/2022                                                                                                                      forthcoming 79-5(c) motion
                                                             Letter Agreemenet
                                                                                                                                                                                     from Microsoft.




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                                                                                                                                                                                      Exhibit subject to
RX1132   MSFT-2R-06626852    MSFT-2R-06626865   6/18/2021    Email from P. Spencer to S. Nadella and A. Hood Re: potential acquisition // Attachment re: potential acquisition   forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1133   MSFT-2R-06626891    MSFT-2R-06626892   6/23/2021    Email from P. Spencer to S. Nadella and A. Hood, re: EA move                                                        forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
                                                             Email from D. Hampton to Gaming LT re: Future of the Xbox Experience (Mobile Segment Strategy): Pre-Read with
RX1134   MSFT-2R-06635803    MSFT-2R-06635821   2/19/2021                                                                                                                        forthcoming 79-5(c) motion
                                                             // Attachment re: Gaming CSA - Mobile Native Strategy paper
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1137   MSFT-2R-06902040    MSFT-2R-06902046   2/11/2021    Email from T. Stuart to GLT re: Financial Results Jan FY21// Attachment re: Gaming Close Review Presentation Deck forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.



RX1138   MSFT-2R-06972191    MSFT-2R-06972191   3/10/2022    Email from M. Booty to P. Spencer re: Org Thoughts



                                                                                                                                                                                      Exhibit subject to
RX1140   MSFT-2R-07111469    MSFT-2R-07111470   10/5/2021    Meeting Invite from T. Stuart re: RE: potential acquisition //Attachment re: potential acquisition                  forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
                                                             Meeting Invite from L. Di Mauro re: M&A Pipeline - Q3 FY21 - XGS // Attachment re: Gaming M&A | XGS
RX1141   MSFT-2R-07117596    MSFT-2R-07117597   5/10/2021                                                                                                                        forthcoming 79-5(c) motion
                                                             Presentation Deck
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1142   MSFT-2R-05883701    MSFT-2R-05883716   12/3/2021    Email between P. Spencer and A. Hood re: Good news!                                                                 forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1144   MSFT-2R-07439984    MSFT-2R-07439985   11/12/2021   Email from P. Spencer to K. Scott re: potential acquisition // Attachment re: potential acquisition                 forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.



RX1145   MSFT-2R-07503180    MSFT-2R-07503183   4/28/2022    Email from J. Braff to M. Booty re: Update Before You Are Back in Action



                                                                                                                                                                                      Exhibit subject to
                                                             Email from M. Kochis to R. Seger Re: FW: [EXTERNAL] Proposed new content for PS Plus // Attachment re: The
RX1146   MSFT-2R-07768475    MSFT-2R-07768491   4/25/2022                                                                                                                        forthcoming 79-5(c) motion
                                                             Future of PlayStation Plus Presentation Deck
                                                                                                                                                                                       from Microsoft.




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                                                                                                                                                                                      Exhibit subject to
RX1147   MSFT-2R-07784291    MSFT-2R-07784294   5/2/2022    Emails between S. Bond, P. Spencer, T. Stuart and M. Booty re: RE: [EXTERNAL] Denali - Activision 10-Q               forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.



                                                            Email from H. Zhang to GLT re: Responding to today's exciting news // Attachment re: Briefing Doc - Denali Press
RX1150   MSFT-2R-08189675    MSFT-2R-08189686   1/18/2022
                                                            Interviews



                                                                                                                                                                                      Exhibit subject to
RX1152   MSFT-2R-08204984    MSFT-2R-08204986   10/5/2021   Emails between A. Hood and P. Spencer, re: RE: ACP Zipline                                                           forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1154   MSFT-2R-08356038    MSFT-2R-08356063   1/16/2022   Email Withheld for privilege // Attachment re: Activision Blizzard Final Board of Directors Presentation Deck        forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1155   MSFT-2R-08403228    MSFT-2R-08403230   9/15/2020   Meeting Invite from H. Cooper // Attachment re: Atom: Final Go/No Go discussion Presentation Deck                    forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX1156   MSFT-2R-08436793    MSFT-2R-08436820   1/14/2022   Presentation Re: Project Denali: Activision Blizzard First January Board of Directors deck                           forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
                                                            Email from J. Lawver to T. Stuart and J. Chester re: Activision deal model // Attachment re: Denali Model - Jan 16
RX1159   MSFT-2R-08912232    MSFT-2R-08912251   1/20/2022                                                                                                                        forthcoming 79-5(c) motion
                                                            Board FGNG Excel Sheet
                                                                                                                                                                                       from Microsoft.



RX1160   MSFT-2R-09296413    MSFT-2R-09296415   3/18/2022   Teams Chat Between C. Gluckstein, P. Spencer, K. Choudhry and others re: xCloud Strategy



                                                                                                                                                                                      Exhibit subject to
RX1161   MSFT-2R-09357644    MSFT-2R-09357645   1/18/2022   Email Withheld for Privilege// Attachment re: Signing Set Microsoft Corporation and Activision Blizzard, Inc.        forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.



RX1162   MSFT-2R-09393138    MSFT-2R-09393138   5/23/2022   Email from P. Spencer to J. Ryan re: Follow up on content discussions



                                                                                                                                                                                      Exhibit subject to
RX1165   MSFT-2R-10084492    MSFT-2R-10084497   7/20/2022   Email chain from C. Gluckstein to T. Stuart re: Action Requested: FY23 PEP Investment Overview Deck                  forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.




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                                                                                                                                                                                Exhibit subject to
                                                             Email chain from J. Murphy RE: Streaming-led Devices Sessions Notes - 8/17/22 with attachment Xbox Everywhere
RX1173   MSFT-2R-10119394    MSFT-2R-10119395   8/18/2022                                                                                                                  forthcoming 79-5(c) motion
                                                             COGS P&L Overview
                                                                                                                                                                                 from Microsoft.


                                                                                                                                                                                   Exhibit subject to
RX1174   MSFT-2R-10223605    MSFT-2R-10223607   8/26/2022    Email chain from P. Spencer and J. Ryan re Microsoft's Commitment to Activision Games on PlayStation Post Merger forthcoming 79-5(c) motion
                                                                                                                                                                                    from Microsoft.


                                                                                                                                                                                     Exhibit subject to
RX1175   MSFT-2R-10258666    MSFT-2R-10258668    9/7/2022    Teams Chat between T. Stuart and C. Gluckstein                                                                     forthcoming 79-5(c) motion
                                                                                                                                                                                      from Microsoft.


                                                                                                                                                                                     Exhibit subject to
RX1176   MSFT-2R-10263819    MSFT-2R-10263819   5/25/2022    Teams Chat between T. Stuart, H. Zhang, and J. Cook                                                                forthcoming 79-5(c) motion
                                                                                                                                                                                      from Microsoft.


                                                                                                                                                                                     Exhibit subject to
RX1178   MSFT-2R-10415037    MSFT-2R-10415039   11/22/2022   Email thread from M. Booty re: " Q2 financial targets"                                                             forthcoming 79-5(c) motion
                                                                                                                                                                                      from Microsoft.


                                                                                                                                                                                     Exhibit subject to
RX1181   MSFT-2R-10607438    MSFT-2R-10607439   12/2/2022    Email chain from T. Stuart to P. Spencer re: BoD meeting notes                                                     forthcoming 79-5(c) motion
                                                                                                                                                                                      from Microsoft.



RX1182   MSFT-2R-10609996    MSFT-2R-10609997   11/22/2022   Emails between P. Spencer, D. Bowser, S. Singer, and S. Bond re: Discussion



                                                                                                                                                                                     Exhibit subject to
RX1183   MSFT-2R-10670483    MSFT-2R-10670484   12/6/2022    Email from M. Booty re: General Update                                                                             forthcoming 79-5(c) motion
                                                                                                                                                                                      from Microsoft.


                                                                                                                                                                                     Exhibit subject to
                                                             Email from S. Bond to S. Lynch re: Letter Agreement // Email Attachment re: "Letter Agreement for Publishing the
RX1184   MSFT-2R-10760571    MSFT-2R-10760573   12/1/2022                                                                                                                       forthcoming 79-5(c) motion
                                                             COD title(s) on the Steam Platform"
                                                                                                                                                                                      from Microsoft.


                                                                                                                                                                                     Exhibit subject to
RX1186   MSFT-2R-10905800    MSFT-2R-10905803    7/7/2022    Email chain from T. Stuart to A. Hood and M. Ozkeskin re: "Consumer July Update"                                   forthcoming 79-5(c) motion
                                                                                                                                                                                      from Microsoft.


                                                                                                                                                                                     Exhibit subject to
RX1187   MSFT-2R-10906526    MSFT-2R-10906529    6/2/2022    Email thread from A. Hood re: " Current view on FY22 Game Pass EB"                                                 forthcoming 79-5(c) motion
                                                                                                                                                                                      from Microsoft.




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                                                                                                                                                                                    Exhibit subject to
RX1193   MSFT-2R-11066366    MSFT-2R-11066366   11/1/2022    Email from P. Spencer to A. Hood, S. Nadella and B. Smith re: "Call of Duty Update"                               forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.



RX1196   MSFT-2R-11068448    MSFT-2R-11068453   12/7/2022    Email chain from S. Bond to S. Lynch, P. Spencer and E. Johnson re Letter Agreement



                                                                                                                                                                                    Exhibit subject to
RX1198   MSFT-2R-11070561    MSFT-2R-11070573   11/29/2022   Email chain from P. Spencer to S. Nadella re: MCB Holiday Report November 28, 2022                                forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.



RX1199   MSFT-2R-11094633    MSFT-2R-11094636   9/30/2022    Email chain from A. Chen re: Bloomberg Question



                                                                                                                                                                                    Exhibit subject to
                                                             Email thread from N. Cheuk to S. Bond, L. Wright, and L. Norman re "Fwd: Call of Duty LOI" // Email Attachment
RX1200   MSFT-2R-11103825    MSFT-2R-11103829   12/7/2022                                                                                                                      forthcoming 79-5(c) motion
                                                             re: "Letter of Intent for Publishing the Call of Duty title on Nintendo's Platform" Document
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
                                                             Email thread re: Recap, 11/08/22 Store Strategy Evolution & Policies // Attachment re: Xbox Everywhere Economic
RX1202   MSFT-2R-11323209    MSFT-2R-11323211   11/10/2022                                                                                                                     forthcoming 79-5(c) motion
                                                             Framework deck
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
                                                             Email thread re: Gaming Strategy Review By the Gaming Leadership Team | March 2019 // Email Attachment re:
RX1209   MSFT-2R-12361803    MSFT-2R-12361807    4/9/2019                                                                                                                      forthcoming 79-5(c) motion
                                                             Gaming Strategy Review Deck
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1211   MSFT-2R-12890944    MSFT-2R-12890959   2/20/2023    Document re: Nvidia GeForce Now Listing Agreement                                                                 forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.



RX1212   MSFT-2R-12890978    MSFT-2R-12890981   2/10/2023    Document re: Call of Duty Side Letter to Nintendo Switch Content License and Distribution Agreement




RX1213   MSFT-2R-12890982    MSFT-2R-12890984   2/20/2023    Document re: Nvidia Windows Addendum



                                                                                                                                                                                  Exhibit subject to
RX1215   MSFT-2R-13358737    MSFT-2R-13358742   2/18/2023    Emails between P. Eisler to B. Hurwitz, K. Iida, and H. Wang re: "Microsoft and GeForce NOW Agreement Timeline" forthcoming 79-5(c) motion
                                                                                                                                                                                   from Microsoft.




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                                                                                                                                                                                    Exhibit subject to
                                                             Emails between S. Bond to S. Burns, L. Norman, and K. Reilly re: "MS/Sony Discussion re Post ABK Merger
RX1217   MSFT-2R-13359005    MSFT-2R-13359007   12/23/2022                                                                                                                     forthcoming 79-5(c) motion
                                                             Transaction"
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1221   MSFT-2R-13372236    MSFT-2R-13372242    3/9/2023    Document re: "Cloud Gaming License Agreement- Boosteroid"                                                         forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1222   MSFT-2R-13372243    MSFT-2R-13372252   3/12/2023    Document re: "Cloud Gaming License Agreement- Ubitus"                                                             forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1223   MSFT-2R-13372646    MSFT-2R-13372646   1/20/2022    Spreadsheet re: "Denali FGNG Deal Model"                                                                          forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1230   MSFT-2R-13385771    MSFT-2R-13385783   9/29/2022    Emails between K. Reilly to L.A. Lucero re: "MSFT:ABK"                                                            forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.



RX1231   MSFT-2R-13386280    MSFT-2R-13386282   12/6/2022    Emails between M. Booty to J. West re: "XGS to Switch"



                                                                                                                                                                                    Exhibit subject to
RX1233   MSFT-2R-13475494    MSFT-2R-13475496   1/11/2023    Email between T. Farris to US Weekly Call Down re: "US Weekly Call Down December Week 5"                          forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1236   MSFT-2R-13538605    MSFT-2R-13538616   2/14/2023    Email Thread re: "Hi-Fi Rush Dashboard"                                                                           forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1237   MSFT-2R-13541309    MSFT-2R-13541309   12/14/2022   Emails between L. Wright to M. Booty and S. Bond re: "Re: Nintendo"                                               forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                     Exhibit subject to
                                                             Email from Microsoft to H. Roundtree, M. Allen, and L. Wright re: Completed // Email Attachment re: "Signed Letter
RX1238   MSFT-2R-13548310    MSFT-2R-13548315    4/7/2023                                                                                                                       forthcoming 79-5(c) motion
                                                             Agreement with EE"
                                                                                                                                                                                      from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1239   MSFT-2R-13570507    MSFT-2R-13570509   1/18/2023    Email Thread re: "Update: XGS titles to Playstation and Switch"                                                   forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.




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                                                                                                                                                                                    Exhibit subject to
RX1241   MSFT-2R-13704313    MSFT-2R-13704316   1/12/2023    Emails between T. Stuart to M. Booty re: Publishing Agreement                                                     forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1242   MSFT-2R-13713805    MSFT-2R-13713806   2/20/2023    Email Thread re: "MSFT & NVIDIA Agreements"                                                                       forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1243   MSFT-2R-13713891    MSFT-2R-13713895   2/20/2023    Email from L. Norman to Gaming Leadership                                                                         forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX1244   MSFT-2R-14026781    MSFT-2R-14026787   4/26/2023    Cloudware-Microsoft licensing agreement                                                                           forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
                                                             Email Thread re: Cloudware (Nware) Cloud Gaming Licensing Agreement (Signed) // Email Attachment re:
RX1245   MSFT-2R-14027149    MSFT-2R-14027157   4/26/2023                                                                                                                      forthcoming 79-5(c) motion
                                                             "Microsoft Cloud Gaming License Agreement Cloudware"
                                                                                                                                                                                     from Microsoft.



RX1246         N/A                 N/A          2/21/2023    Tweet by P. Spencer re: Microsoft-Nvidia Deal, https://twitter.com/XboxP3/status/1628096694939156486




                                                             Xbox Wire Article: "Welcoming the Incredible Teams and Legendary Franchises of Activision Blizzard to Microsoft
RX1250         N/A                 N/A          1/18/2022
                                                             Gaming", news.xbox.com/en-us/2022/01/18/welcoming-activision-blizzard-to-microsoft-gaming




RX1251         N/A                 N/A           1/1/2022    Deck re: "Sony Corporate Report 2022"




                                                             Game Developer Article: "Sony will keep acquiring game studios to sustain "virtuous cycle" of success",
RX1252         N/A                 N/A           4/4/2022
                                                             gamedeveloper.com/business/sony-will-keep-acquiring-game-studios-to-sustain-virtuous-cycle-of-success



                                                                                                                                                                                    Exhibit subject to
RX1258   MSFT-2R-00803136    MSFT-2R-00803139   7/20/2021    Email Thread re: For Input: Media Inquiries on Game Pass Monetization & Payments                                  forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
                                                             Email from C. Schakenberg to A. Zerza re: "Google Stadia Proposed Materials // Email attachment re: Activision
RX1259   ABK-2R-01303972     ABK-2R-01303978    11/12/2019                                                                                                                     forthcoming 79-5(c) motion
                                                             Blizzard / Google Stadia Opportunity Executive Brief
                                                                                                                                                                                     from Activision.




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                                                                                                                                                                                      Exhibit subject to
                                                           Email From K. Wee to B. Kotick re: Bobby -- follow Ups on CODM // Email Attachment re: CODM Executive
RX1260   ABK-2R-00858896    ABK-2R-00858897   11/19/2019                                                                                                                         forthcoming 79-5(c) motion
                                                           Summary Deck
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
                                                           Email from M. Sanford to P. Oh re: "Posting of the Board of Directors Materials for the January 27,2021 Meeting" //
RX1273   ABK-2R-02326364    ABK-2R-02326435   1/23/2021                                                                                                                          forthcoming 79-5(c) motion
                                                           Email Attachment re: 2021 Annual Operating Plan - Board Review Deck
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
RX1275   ABK-2R-02385999    ABK-2R-02386006   3/25/2021    Email Thread re: "B.net Sub Financials" // Email Attachment re: Battlenet/Platform Strategy Modeling Output Deck      forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
RX1276   ABK-2R-01277821    ABK-2R-01277828   3/29/2021    Email from B. Beeded re: Streaming Opportunity                                                                        forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
RX1281   ABK-2R-01296082    ABK-2R-01296083   8/29/2021    Email From R. Kostich to A. Zerza re: Cloud                                                                           forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
RX1282   ABK-2R-02944545    ABK-2R-02944595                                                                                                                                      forthcoming 79-5(c) motion
                                                           Presentation re: LRP: Industy Growth, Trends, and Competitive Landscape
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
                                                           Email From C. Plummer re: CONFIRMED: Follow-up AP Mobile w/ BK // Email Attachment re: "AP M&A Follow
RX1284   ABK-2R-03095493    ABK-2R-03095511    3/4/2021                                                                                                                          forthcoming 79-5(c) motion
                                                           Up: Mobile" Deck
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
RX1285   ABK-2R-02303596    ABK-2R-02303685   10/28/2021   Email from R. Kotich to H. Sakhnini re: "LRP" // Email Attachment re: 2021 Long Range Plan Deck                       forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
RX1286   ABK-2R-01052005    ABK-2R-01052013   10/29/2021   Email from J. Rock to A. Zerza re: COD Warzone Mobile // Email Attachment re: Capitalization Authorization Form       forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.



RX1288   ABK-2R-01401924    ABK-2R-01401938   1/17/2022
                                                           PlayStation_and_Xbox_get_left_behind_Five_themes_for_the_games_industry_in_2022_2022_003_.08.pdf



                                                                                                                                                                                      Exhibit subject to
                                                           Email from M. Sanford to P. Oh and F. Townsend re: "Final 2022 AOP Materials-To Post" // Email Attachment re:
RX1289   ABK-2R-02894939    ABK-2R-02894986   1/23/2022                                                                                                                          forthcoming 79-5(c) motion
                                                           2022 Annual Operating Plan Deck
                                                                                                                                                                                       from Activision.




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                                                                                                                                                                                     Exhibit subject to
                                                             Email from I. Kartal to A. Zerza and J. Yang re: "King and AP LRP" // Email Attachment re: Long Range Planning -
RX1296   ABK-2R-03922831     ABK-2R-03922879    5/28/2022                                                                                                                       forthcoming 79-5(c) motion
                                                             2022; Presentation re: King LRP 2022 Deck
                                                                                                                                                                                      from Activision.


                                                                                                                                                                                     Exhibit subject to
                                                             Email from A. Woodward to R. Schonfeld et al re: Q3 AP APAC & LATAM QBR - Final .. Email Attachment re:
RX1305   ABK-2R-03620912     ABK-2R-03620981     9/1/2022                                                                                                                       forthcoming 79-5(c) motion
                                                             2022-Q3 APAC & Latam QBR Presentation Deck
                                                                                                                                                                                      from Activision.


                                                                                                                                                                                     Exhibit subject to
                                                             Email From T. Sommestad to B. Kotick re: Pre-Read King QFR // Email Attachment re: King QFR 22Q3
RX1308   ABK-2R-03993332     ABK-2R-03993380    9/28/2022                                                                                                                       forthcoming 79-5(c) motion
                                                             Presentation Deck
                                                                                                                                                                                      from Activision.


                                                                                                                                                                                     Exhibit subject to
                                                             Email From I. Kartal to B. Kotick re: Draft Board Decks // Email Attachment re: 2022 Q3 Business Results - Board
RX1310   ABK-2R-03994180     ABK-2R-03994238    10/21/2022                                                                                                                      forthcoming 79-5(c) motion
                                                             Review Presentation Deck
                                                                                                                                                                                      from Activision.


                                                                                                                                                                                     Exhibit subject to
RX1321   MSFT-2R-13372373    MSFT-2R-13372393   3/16/2023    Document re: Commitments to the European Commission - Non-Confidential Version                                     forthcoming 79-5(c) motion
                                                                                                                                                                                      from Microsoft.


                                                                                                                                                                                     Exhibit subject to
RX1325   MSFT-2R-10906788    MSFT-2R-10906789    6/1/2022    Email from A. Hood to Tim Stuart, Phil Spencer, and Bill Duff re: "Q4 Trends"                                      forthcoming 79-5(c) motion
                                                                                                                                                                                      from Microsoft.



                                                             Press Release: PlayStation Now Streaming Game Service Coming this Summer;
RX2000         N/A                 N/A           1/7/2014
                                                             https://blog.playstation.com/2014/01/07/playstation-now-streaming-game-service-coming-this-summer/




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RX2164         N/A                 N/A           6/3/2023    Financial Times, Sony chief warns technical problems persist for cloud gaming




RX2170   MSFT-2R-12890960    MSFT-2R-12890977   12/23/2022   Agreement: PlayStation Global Provisional Publishing Agreement




                                                                                                                                                    Exhibit subject to
RX3000   ABK-2R-00518916     ABK-2R-00518917    8/27/2021    Email from J. Taub to M. Vance and R. Kostich re: Cloud                           forthcoming 79-5(c) motion
                                                                                                                                                     from Activision.


                                                                                                                                                    Exhibit subject to
RX3001   ABK-2R-01012248     ABK-2R-01012276    8/30/2021    Executive Brief re: Q2 2021 Call Back Prep                                        forthcoming 79-5(c) motion
                                                                                                                                                     from Activision.


                                                                                                                                                    Exhibit subject to
RX3006   ABK-2R-01230227     ABK-2R-01230234    3/29/2021    Email from R. Schonfeld to B. Beede et al re: Streaming Opportunity               forthcoming 79-5(c) motion
                                                                                                                                                     from Activision.


                                                                                                                                                    Exhibit subject to
RX3008   ABK-2R-01517045     ABK-2R-01517046    9/10/2020    Email from P. Royea to A. Zerza and P. Royea re: SIE Discussion                   forthcoming 79-5(c) motion
                                                                                                                                                     from Activision.


                                                                                                                                                    Exhibit subject to
RX3011   ABK-2R-02292187     ABK-2R-02292196    11/27/2020   Presentation re: MSFT Partnership                                                 forthcoming 79-5(c) motion
                                                                                                                                                     from Activision.


                                                                                                                                                    Exhibit subject to
RX3012   ABK-2R-02386002     ABK-2R-02386006     3/1/2021    Presentation re: Blattle.Net/ Platform Strategy Financial Outpout Slide Deck      forthcoming 79-5(c) motion
                                                                                                                                                     from Activision.



RX3015   MSFT-2R-07595528    MSFT-2R-07595532   4/22/2022    Email From B. Lang to xCloud Leadership Team re: xCloud Pulse Survey March 2022




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                                                                                                                                                                                      Exhibit subject to
RX3019   MSFT-2R-11103828     MSFT-2R-11103829    12/6/2022    Letter of Intent for Publishing the Call of Duty title on Nintendo’s Platform                                     forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX3027   MSFT-2R-13388834     MSFT-2R-13388837    4/26/2023    Cloud Game Streaming Letter of Intent between Microsoft Corporation and EE Limited                                forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.



                                                               Games Industry Article re: "PlayStation's Jim Ryan: Our games could suffer if they went straight into PS Plus"
RX3037         N/A                  N/A           3/29/2022
                                                               https://www.gamesindustry.biz/playstations-jim-ryan-our-games-could-suffer-if-we-put-them-straight-into-ps-plus



                                                               GamesHub Article re: "God of War Ragnarok sells 5.1 million, the fastest seller in PlayStation history"
RX3048         N/A                  N/A           11/24/2022
                                                               https://www.gameshub.com/news/news/god-of-war-ragnarok-sales-5-million-fastest-selling-record-34560/



                                                                                                                                                                                      Exhibit subject to
RX3095    ABK-2R-01406546      ABK-2R-01406549     5/3/2020    Email from S. Kim to P. Royea re: Sony Counter Proposal Review                                                    forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
RX3101    ABK-2R-02300376      ABK-2R-02300396    10/16/2020   Agreement re: Letter Agreement Between SIE and Activision re COD                                                  forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.



RX3102   FTC-PROD-00010177    FTC-PROD-00010198   8/30/2022    Presentation re: Economic Analysis of Microsoft's Incentive to Withhold COD from PlayStation




                                                                                                                                                                                      Exhibit subject to
RX3104   MSFT-2R-00888003     MSFT-2R-00888008    10/28/2020   Email from M. Percy to J. West, B. Decker re: [Briefing] ATVI: Armin Reaching Out                                 forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX3105   MSFT-2R-03264187     MSFT-2R-03264189     4/1/2021    Email from M. Booty to M. Percy re: MLB Comes to Game Pass                                                        forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.


                                                                                                                                                                                      Exhibit subject to
RX3106   MSFT-2R-08961308     MSFT-2R-08961310    11/6/2020    Email from C. Williams to P. Spencer and S. Bond re: Week of 11/02/2020 Ecosystem Commercial Deal Update          forthcoming 79-5(c) motion
                                                                                                                                                                                       from Microsoft.




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RX3107   MSFT-2R-10618998    MSFT-2R-10619002   11/10/2022   Email from A. Barrios re: Series X / S                                                                               forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.



RX3108   MSFT-2R-12370721    MSFT-2R-12370722   2/15/2022    Email from D. Murphy to J. Okita re: Neutrino




RX3109   MSFT-2R-13080692    MSFT-2R-13080692   12/2/2022    Spreadsheet re: ToH1 Online Survey Tables Spreadsheet




RX3110   MSFT-2R-13386306    MSFT-2R-13386353    2/1/2023    Presentation re: YouGov Survey of European Gamers Shows How Sony Cannot Be Forclosed




RX3111   MSFT-2R-13386645    MSFT-2R-13386687    2/8/2023    Document re: CMA Appendices



                                                                                                                                                                                       Exhibit subject to
RX3112   MSFT-2R-14027151    MSFT-2R-14027157   4/26/2023    Agreement re: Signed Agreement between MSFT and Cloudware re Cloud Gaming License Agreement                          forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.



                                                             The Verge Article re: "‘Minecraft’ now officially belongs to Microsoft — here’s what you should know.”
RX3123         N/A                 N/A          11/6/2014
                                                             https://www.theverge.com/2014/11/6/7167283/Minecraft-now-officially-belongs-to-microsoftwhat-you-should-know



                                                             The Verge Article re: “Sony's excuse for blocking PlayStation and Xbox cross-platform play is hostile and stupid.”
RX3124         N/A                 N/A          6/15/2017
                                                             https://www.theverge.com/2017/6/15/15807138/sonyplaystation-cross-network-play-xbox-block-response



                                                             Xbox Wire Article re: "Xbox Game Pass Expands to Include New Releases from Microsoft Studios.”
RX3126         N/A                 N/A          1/23/2018
                                                             https://news.xbox.com/en-us/2018/01/23/xbox-game-pass-expands/



                                                             The Verge Article re: “Fortnite fans are furious at Sony for ruining their handheld dreams."
RX3127         N/A                 N/A          6/12/2018
                                                             https://www.theverge.com/2018/6/12/17454606/fortnite-nintendo-switch-ps4-block-accounts-cross-play-e3-2018



                                                             PlayStation Blogs re: “Extended Fortnite Cross-Play Beta Launches on PS4 Starting Today.”
RX3128         N/A                 N/A          9/26/2018
                                                             https://blog.playstation.com/2018/09/26/extended-fortnite-cross-play-beta-launches-on-ps4-starting-today/




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                                                 The Verge Article re: “Sony enabling Fortnite cross-play for PS4 against Xbox and Switch."
RX3130     N/A            N/A       9/26/2018
                                                 https://www.theverge.com/2018/9/26/17905146/sony-fortnite-ps4-cross-playsupport



                                                 Games Industry Article re: “Sony acquires Insomniac Games." https://www.gamesindustry.biz/sony-acquires-
RX3132     N/A            N/A       8/19/2019
                                                 insomniac-games



                                                 The Verge article re: “Sony’s MLB The Show is coming to other game consoles ‘as early as 2021."
RX3133     N/A            N/A       12/9/2019
                                                 https://www.theverge.com/2019/12/9/21004103/sony-mlb-theshow-playstation-exclusivity-ending



                                                 Activision Support article re: “Improving Lag and In-game Performance in Call of Duty: Warzone Caldera."
RX3135     N/A            N/A       3/10/2020    https://support.activision.com/call-of-duty-warzone/articles/improving-lag-and-in-game-performance-in-call-of-duty-
                                                 warzone



                                                 Forum re: World Economic Forum. https://www.weforum.org/agenda/2020/09/covid19-coronavirus-pandemic-video-
RX3136     N/A            N/A       9/28/2020
                                                 games-entertainment-media/



                                                 Digital Trends article re:“What is cloud gaming?" https://www.digitaltrends.com/gaming/what-is-cloud-gaming-
RX3137     N/A            N/A       3/29/2021
                                                 explained/



                                                 Windows Central Article re: “MLB The Show 21 launching into Xbox Game Pass was reportedly MLB’s decision,
RX3138     N/A            N/A        4/6/2021
                                                 not Sony’s." https://www.windowscentral.com/mlb-show-21-launching-xbox-game-pass-was-reportedly-mlbs-decision



                                                 The Verge Article re: “Sony really hated PS4 crossplay, confidential documents
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                                                 agreements



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RX3140     N/A            N/A        5/4/2021
                                                 https://www.callofduty.com/blog/2021/05/Call-of-Duty-Mobile-Milestone-500-Million-Downloads



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RX3142     N/A            N/A       1/18/2022    everyone, across every device." https://news.microsoft.com/2022/01/18/microsoft-to-acquire-activision-blizzard-to-
                                                 bring-the-joy-and-community-of-gaming-to-everyone-across-every-device/



                                                 Axios Article re: “Report: Video game revenue shrinks in 2022, snapping growth streak."
RX3150     N/A            N/A       11/15/2022
                                                 https://www.axios.com/2022/11/15/global-video-game-market-decline-2022




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                                                             The Verge Article re: “Amazon confirms cuts to hardware and services teams.”
RX3151         N/A                 N/A          11/16/2022
                                                             https://www.theverge.com/2022/11/16/23462439/amazon-layoffs-cutshardware-services-teams



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RX3152         N/A                 N/A          12/1/2022    https://assets.publishing.service.gov.uk/media/63e23ccce90e07626de4c9d0/ToH1_online_survey_research_report_DJ
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RX3153         N/A                 N/A          12/13/2022
                                                             games-nintendo-consoles-history/




RX3154         N/A                 N/A          12/31/2022   Report re: Activision Blizzard, Inc., Annual Report, Form 10K for the fiscal year ended December 31, 2022



                                                             The Verge Article re: “How Microsoft’s Nvidia deal works for gamers — with or without Activision.”
RX3155         N/A                 N/A          2/21/2023    https://www.theverge.com/2023/2/21/23609133/nvidia-microsoft-activision-blizzard-geforce-now-cloud-gaming-
                                                             interview



                                                             Minecraft Article re: “Play Dungeons for Free on PS+: Download it Free in March and Keep it Forever!”
RX3156         N/A                 N/A           3/1/2023
                                                             https://www.minecraft.net/en-us/article/play-dungeons-free-ps-.



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RX3157         N/A                 N/A          3/16/2023
                                                             https://www.statista.com/statistics/243789/number-of-tv-householdsin-the-us/



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RX3158         N/A                 N/A          5/15/2023
                                                             subject to conditions." https://ec.europa.eu/commission/presscorner/detail/en/ip_23_2705




                                                                                                                                                                                       Exhibit subject to
RX3166   MSFT-2R-08947322    MSFT-2R-08947351   12/8/2021    Presentation re: Presentation to Board of Directors: Project Denali - Activision Blizzard                            forthcoming 79-5(c) motion
                                                                                                                                                                                        from Microsoft.



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RX3174         N/A                 N/A           1/9/2023
                                                             us-statistics/.




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                                                             Metacritic, "Redfall for Xbox Series X Reviews" https://www.metacritic.com/game/xbox-series-x/redfall, last
RX3177         N/A                 N/A          5/20/2023
                                                             accessed on May 20, 2023.




                                                                                                                                                                                    Exhibit subject to
RX5001   MSFT-2R-13542040    MSFT-2R-13542041   12/20/2022   Email from Phil Spencer to Sarah Bond re: HoL Learnings                                                           forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX5002   MSFT-2R-13372500    MSFT-2R-13372500   1/14/2022    Ecosystems Communicaton Document                                                                                  forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX5003   MSFT-2R-08947322    MSFT-2R-08947351                Presentation re: Presentation to Board of Directors: Project Denali - Activision Blizzard                         forthcoming 79-5(c) motion
                                                12/07/2021
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                 Exhibit subject to
RX5004   ABK-2R-04088960     ABK-2R-04089041    1/22/2023    Email from R. Forbes to B. Kotick FW: FY23 AOP Deck – Draft // Email Attachment re: 2023 Annual Operating Plan forthcoming 79-5(c) motion
                                                                                                                                                                                  from Activision.


                                                                                                                                                                                    Exhibit subject to
                                                             Email from C. Johnson to D. Alegre re: Look forward to catching up tomorrow // Email Attachment re: 2020 Annual
RX5005   ABK-2R-01940721     ABK-2R-01940749    3/16/2020                                                                                                                      forthcoming 79-5(c) motion
                                                             Operating Plan
                                                                                                                                                                                     from Activision.


                                                                                                                                                                                    Exhibit subject to
                                                             Email from A. Zerza to H. Gift FW: ABK Board Materials - FINAL // Email Attachment re: 2019 Annual Operating
RX5006   ABK-2R-02421470     ABK-2R-02421501    1/29/2019                                                                                                                      forthcoming 79-5(c) motion
                                                             Plan
                                                                                                                                                                                     from Activision.


                                                                                                                                                                                    Exhibit subject to
RX5007   ABK-2R-03378758     ABK-2R-03378779    1/25/2018    ABK Consolidated 2018 AOP_Board_vF.pdf                                                                            forthcoming 79-5(c) motion
                                                                                                                                                                                     from Activision.


                                                                                                                                                                                    Exhibit subject to
RX5008   ABK-2R-03198136     ABK-2R-03198249    3/12/2020    Email from K. Wee to D. Durkin RE: LRP // Email Attachment re: 2019 Consolidated Strategic Plan                   forthcoming 79-5(c) motion
                                                                                                                                                                                     from Activision.


                                                                                                                                                                                    Exhibit subject to
                                                             Email from R. Millock to B. Kotick et al. FW: Blizzard BU Light/ Franchises // Email Attachment re: July 2020
RX5009   ABK-2R-01733582     ABK-2R-01733671    8/11/2020                                                                                                                      forthcoming 79-5(c) motion
                                                             Board LRP
                                                                                                                                                                                     from Activision.




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RX5010   ABK-2R-03969180     ABK-2R-03969211    6/15/2022    Email from R. Kostich to T. Tippl FW: LRP Consolidated Deck // Email Attachment re: LRP 2022                      forthcoming 79-5(c) motion
                                                                                                                                                                                     from Activision.


                                                                                                                                                                                    Exhibit subject to
RX5011   MSFT-2R-08100063    MSFT-2R-08100063   12/3/2021    Presentation re: GLT Finance Deep Dive: May Results                                                               forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX5012   MSFT-2R-10617831    MSFT-2R-10617831   10/24/2022   Presentation re: GLT Finance Deep Dive: May Results                                                               forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX5013   MSFT-2R-06113930    MSFT-2R-06113930   8/17/2021    Project Zipline                                                                                                   forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.


                                                                                                                                                                                    Exhibit subject to
RX5014   MSFT-2R-04315845    MSFT-2R-04315850   10/28/2020   Email from P. Spencer to A. Duan RE: [Briefing] ATVI: Armin reaching out                                          forthcoming 79-5(c) motion
                                                                                                                                                                                     from Microsoft.



                                                             Robin S. Lee, (2013), Vertical Integration and Exclusivity in Platform and Two-Sided Markets, American Economic
RX5015         N/A                 N/A          12/31/2013
                                                             Review, 103(7) 2960-3000



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RX5016         N/A                 N/A           6/2/2022
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RX5017         N/A                 N/A          8/29/2022
                                                             https://blog.playstation.com/2022/08/29/welcoming-savage-game-studios-expanding-our-community/



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RX5018         N/A                 N/A          8/29/2022
                                                             https://www.newsweek.com/sony-acquires-savage-game-studios-playstation-studios-mobile-division-1737826



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RX5019         N/A                 N/A          11/5/2013
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RX5020         N/A                 N/A          3/26/2018
                                                             https://pokde.net/news/many-epic-games-fortnite-people




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RX5021         N/A                 N/A          5/9/2023
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RX5022         N/A                 N/A          8/22/2022   GameRant, https://gamerant.com/sony-ps5-playstation-exclusive-games-pc-release/



                                                                                                                                                                                      Exhibit subject to
RX5023   ABK-2R-00946481     ABK-2R-00946502    2/6/2020    Presentation re: S&BI Market Overview, Market Trends and Implications for Activision                                 forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.



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RX5024         N/A                 N/A          4/26/2023
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RX5025   MSFT-2R-03228566    MSFT-2R-03228569   3/24/2020   Email from S. Bond to P. Spencer RE: Friday's outside-in Take2




RX5026         N/A                 N/A          5/5/2021    Document: Transcript from Epic Games, Inc. v. Apple, Inc. Trial (Under Seal Pages 586-588)



                                                                                                                                                                                      Exhibit subject to
RX5027   ABK-2R-02284337     ABK-2R-02284352    3/29/2018   Sony Top Publisher Incentive Program Agreement                                                                       forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
RX5028   ABK-2R-02429768     ABK-2R-02429776    7/1/2020    Letter Agreement between Sony and ATVI re: Crash 4                                                                   forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
                                                            Email from L. Hall to P. Royea et al. re: ATVI Advertising Language // Email attachment re: Microsoft - Activision
RX5029   ABK-2R-01519252     ABK-2R-01519281    8/18/2020                                                                                                                        forthcoming 79-5(c) motion
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                                                                                                                                                                                       from Activision.


                                                                                                                                                                                      Exhibit subject to
RX5030   ABK-2R-01974370     ABK-2R-01974387    4/20/2021   Microsoft / Activision Xbox PLA Addendum 2                                                                           forthcoming 79-5(c) motion
                                                                                                                                                                                       from Activision.



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RX5031         N/A                 N/A          7/13/2020
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RX5032        N/A                N/A          4/11/2022
                                                          11, 2022), https://tcrn.ch/463E9xP



                                                          Kevin Webb, PS5 vs. PS5 Digital Edition: Which PlayStation 5 is the Best Choice in 2023?, Insider (May 12, 2023),
RX5033        N/A                N/A          5/12/2023
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                                                          Ian Evenden, PS5 Pro and Slim: Everything We’ve Heard About Sony’s Future Console Upgrades, Stuff (June 15,
RX5034        N/A                N/A          6/15/2023
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                                                          Stephen Totilo, Nintendo’s Legend of Zelda: Tears of the Kingdom Sells 10 Million Copies in 3 Days, Axios (May
RX5035        N/A                N/A          5/17/2023
                                                          17, 2023), https://bit.ly/3MJklHn



                                                          Rhiannon Bevan, PlayStation Boss Says Cloud Gaming Has Too Many Technical Difficulties, The Gamer (June 4,
RX5036        N/A                N/A          6/4/2023
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RX5037        N/A                N/A          9/15/2014   Microsoft Press Release, Minecraft to join Microsoft (Sept. 15, 2014), https://tinyurl.com/4v4ms3w3




                                                          Microsoft Didn’t Mislead EU over Zenimax Deal, Watchdog Says in Response to Us Concerns, MLex (Dec. 9,
RX5038        N/A                N/A          12/9/2022
                                                          2022), https://tinyurl.com/335rpbxr




RX5039        N/A                N/A          2/1/2022    Sony Press Release: Bungie Acquisition (Feb. 1, 2022), https://tinyurl.com/m7r8aku9




                                                          Michael Kan, Nvidia Rebuts UK, Says Microsoft-Activision Deal Good for Cloud Gaming, PCMag.com (Apr. 28,
RX5040        N/A                N/A          4/28/2023
                                                          2023), https://bit.ly/3PnUqro



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RX5041        N/A                N/A          6/3/2023
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RX5042   ABK-2R-04007438    ABK-2R-04007474   7/25/2022   2022 Q2 Business Results for Board Review                                                                           forthcoming 79-5(c) motion
                                                                                                                                                                                    from Activision.




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RX5043     N/A            N/A       1/18/2022
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RX5044     N/A            N/A       6/20/2023   Description: Website: Game Pass Tiers Screenshot




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